                       Case 5:18-cv-07182-EJD Document 254 Filed 09/06/24 Page 1 of 1
 AO 154 (10/03) Substitution of Attorney


                                           UNITED STATES DISTRICT COURT
        Northern                                                District of              California

                                                                             CONSENT ORDER GRANTING
     NEO4J, INC., et al.,                     Plaintiff (s),                 SUBSTITUTION OF ATTORNEY
                   V.
                                                                             CASE NUMBER: 5:18-cv-07182-EJD
     PURETHINK, LLC, et al., Defendant (s),

           Notice is hereby given that, subject to approval by the court,                        John Mark Suhy                            substitutes
                                                                                                          (Party (s) Name)

                   John Mark Suhy                                            , State Bar No.               Pro Se               as counsel of record in
                            (Name of New Attorney)

place of      Adron W. Beene, Adron G. Beene                                                                                                             .
                                                          (Name of Attorney (s) Withdrawing Appearance)



Contact information for new counsel is as follows:
           Firm Name:                  John Mark Suhy
           Address:                    8814 Danewood Drive, Alexandria, VA 22308
           Telephone:                  (703) 862-7780                                Facsimile       N/A
           E-Mail (Optional):          jmsuhy@gmail.com


I consent to the above substitution.                                               John Mark Suhy
Date:         9/6/2024
                                                                                                               (Signature of Party (s))

I consent to being substituted.                                                    Adron W. Beene
Date:          9/6/2024                                                            Adron G. Beene
                                                                                                      (Signature of Former Attorney (s))

I consent to the above substitution.
Date:           9/6/2024                                                            John Mark Suhy
                                                                                                            (Signature of New Attorney)



The substitution of attorney is hereby approved and so ORDERED.


Date:
                                                                                                                       Judge

[Note: A separate consent order of substitution must be filed by each new attorney wishing to enter an appearance.]
